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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                 Plaintiffs,

v.                                   Civil Action No. 1:22-cv-0481 (CJN)

UNITEDHEALTH GROUP
INCORPORATED, et al.,

                 Defendants.



DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE TO STRIKE
 EXHIBITS, AND PROHIBIT DEFENDANTS FROM INTRODUCING UNTIMELY
PRODUCED DOCUMENTS, ANY RELATED EVIDENCE, AND ANY SUMMARIES
                            THEREOF
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                                       INTRODUCTION

       Plaintiffs’ motion in limine seeks to exclude plainly relevant evidence of contractual

commitments, offered by UnitedHealth Group Incorporated (UHG) and executed by Change

Healthcare Inc.’s (Change) customers, related to post-transaction data protection, EDI

performance standards, and the marketing of innovations and insights (if any). It also lumps in a

hodgepodge of publicly-available web pages and other documents not called for by Plaintiffs’

discovery requests, the production of which does not prejudice Plaintiffs in any concrete way.

Plaintiffs’ motion is without merit and does not even bother to attach (or meaningfully describe)

the exhibits they seek to exclude.

       First, Plaintiffs seek to exclude any evidence of UHG’s contractual commitments offered

to tens of thousands of Change customers, despite the fact that:

      UHG and Change discussed these commitments with the Department of Justice—upon
       request—and produced a written description of these commitments before the complaint
       was filed in February 2022;

      UHG and Change included a description of the commitments they were willing to offer in
       their answers to the complaint;

       UHG and Change produced the template letter and contractual commitments to be sent to
       Change’s customers, along with a mailing list for all customer recipients, in May 2022 on
       the same date they were finalized for distribution;

      Plaintiffs had the opportunity to ask fact witnesses about these commitments during
       discovery and, in fact, questioned UHG’s CEO, Change’s CEO, and the parties’ Rule
       30(b)(6) representatives about them; and

      Plaintiffs received the actual letters sent to Change’s customers in early-June 2022.

Although Plaintiffs’ motion does not mention it, the only “new” information introduced by DX-

0214 and DX-0767 were pre-paid postage envelopes and the signatures and identities of customers

who executed the contractual amendments included in those commitment letters. It was eminently

reasonable for UHG and Change to wait until they had a critical mass of customer responses to



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produce the pre-paid postage envelopes and signature pages at issue. There is no conceivable

prejudice from the production of this information, which directly bears on the Court’s evaluation

of the future state of the market. See United States v. AT&T, Inc., 310 F. Supp. 3d 161, 217 n.30,

241 n.51 (D.D.C. 2018), aff’d, 916 F.3d 1029 (D.C. Cir. 2019). Plaintiffs’ request to exclude DX-

0214 and DX-0767 therefore should be denied.

       Second, the sixty-seven other Change exhibits (DX-0171 to DX-0197 and DX-0199 to

DX-0239) were timely produced along with UHG’s and Change’s exhibit list on June 30, 2022.

Plaintiffs argue that all were responsive to their First and Second Set of Requests for Production

(RFPs), which requested materials “that you expect to use in any hearing, motion, or trial in this

[l]awsuit,” but all of the documents at issue were identified as potential exhibits only shortly before

they were added to the exhibit list. The overwhelming majority of the exhibits are publicly-

available websites and other documents not responsive to any of the Plaintiffs’ First Set of RFPs;

a handful that were responsive are duplicates of documents otherwise produced; and the only

remaining documents were created shortly before they were added to the exhibit list. It should

have been obvious to Plaintiffs that many of these were not untimely produced: more than half are

publicly available, many were already cited in UHG’s and Change’s letters to Plaintiffs during the

investigation, and others were on their face not untimely, including DX-0213, a presentation which

states on the first slide that it was presented at a conference held June 26-29, 2022, just days before

it was produced. Had Plaintiffs engaged in the required meet-and-confer process before filing this

motion, they would have learned information, like date of creation, for the other documents that

would have made clear that none were untimely.




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                                  FACTUAL BACKGROUND

       Far from being dropped into Plaintiffs’ laps after the close of fact discovery, UHG and

Change have been transparent for months about the customer commitments they were willing to

make to Change’s EDI and data solutions customers.

       In an effort to alleviate Plaintiffs’ concerns about the transaction, UHG informed Plaintiffs

in early 2022 that it would make commitments to Change’s customers related to data protection,

EDI performance standards, and innovations and insights (if any) derived from medical EDI data.

UHG mentioned these commitments in a meeting with Plaintiffs on February 17, and the next day

Plaintiffs asked for a description of “any additional commitments, such as those that [UHG

counsel] mentioned yesterday, that the parties are willing to make to ensure that [UHG] would not

use Change’s EDI clearinghouse to advantage itself relative to rival insurers.” See PX596 at UHG-

LIT-01672120. UHG responded on February 21, describing the “amendments to customer

contracts” it was willing to make to address Plaintiffs’ concerns:

      Firewall Policies: For Change’s EDI customers, UHG agreed to maintain commercially
       reasonable firewall policies, and “provide Change medical EDI network customers with a
       copy” of such policies “for the protection of CSI.” UHG further agreed to “provide an
       annual report to each such customer certifying compliance (or identifying company-
       specific violations, if any) with UHG’s policies.”

      Performance Guarantees: “To the extent not already included within Change’s contracts
       with its customers, UHG will offer an amendment to ensure that Change’s medical EDI
       transaction processing is not degraded post-transaction.”

      Non-Discrimination in Innovations: “To the extent that UHG develops new products and
       services or improves upon existing products and services (‘innovations’) by using medical
       EDI transaction data from non-UHG entities that have permitted such use, and such
       innovations are commercially viable, UHG will make these innovations available as soon
       as reasonably practical and on a non-discriminatory basis to non-UHG entities.”

      Data Insights: “To the extent Change’s contracts permit, and consistent with Change’s
       current practices, UHG will make available to non-UHG entities at commercially
       reasonable rates aggregated, de-identified data received through Change’s medical EDI
       network . . . .”



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See 6/16/22 Witty Dep. Ex. 27; Witty Dep. Ex. 28. Three days later—and without explaining why

these commitments would not resolve their concerns—Plaintiffs filed suit. See Compl. (ECF No.

1)

       UHG stood by those proposed commitments in answering the complaint. UHG’s answer

specifically stated: “in an effort to address [Plaintiffs’] concerns—as speculative and implausible

as they were—UHG agreed to make binding commitments to its customers.” UHG’s Answer

(ECF No. 37) ¶ 14. “In particular, UHG agreed to: (1) not alter Change’s current practice of

making certain aggregated, de-identified data available externally to the marketplace; (2) maintain

its robust firewall processes—and extend them to Change’s business—to protect sensitive

customer data and provide information to customers to allow them to verify those firewall

processes; (3) continue to process EDI transactions consistent with industry standards and in the

most efficient, contractually available manner; and (4) consistent with Optum’s current business

practices, make any new products or services developed using medical EDI transaction data

available to the marketplace.” Id. As UHG explained, “[b]ecause UHG has no intent or economic

incentive to do otherwise, all of those commitments are sleeves off UHG’s vest.” Id.

       The process of drafting and coordinating the sending of those commitments, which

includes a meaningful contractual amendment applicable to tens of thousands of customers,

understandably took some time. But nearly a month before the close of fact discovery, on May

27, 2022, UHG and Change provided Plaintiffs a template of the exact text of the letters and

proposed amendments they would send to Change’s customers, along with lists of all customers

to which the commitments would be sent. See 5/27/22 Email from L. Oliver to T. Chapman et al.

(attaching commitment templates and distribution lists); PX700. The template for Change’s EDI

customers states:




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         Firewall Policies: “UHG will maintain commercially reasonable firewall and information
          security policies to protect Customer’s Confidential Information from being disclosed to
          UHG’s health insurance, health plan administrative services, or health care provider
          business. Upon request, which shall be made no more than once annually, UHG agrees to
          conduct a review of Customer’s Confidential Information … and to provide a report to
          Customer identifying any violations of UHG’s firewall and information security policies
          relating to the disclosure of Customer Confidential Information and the corrective actions
          undertaken to resolve such violations.”

         Performance Guarantees: “UHG agrees to provide medical EDI clearinghouse services
          at levels consistent with Change’s current medical EDI clearinghouse network service level
          and all applicable industry standards and regulations.”

         Non-Discrimination in Innovations: “If the UHG subsidiary into which Change’s
          medical EDI clearinghouse business is integrated or operated develops new products and
          services, or improves upon existing products and services, by using Change’s medical EDI
          clearinghouse transaction data, and if that subsidiary makes such products and services
          available to a UHG entity outside of a limited pilot or development trial, it also will make
          such products and services available to Customer as soon as reasonably practicable and at
          commercially reasonable rates.”

See id.     The template for Change’s data solutions customers also stated that UHG would

“continu[e] Change’s business of making aggregated or de-identified data, and insights and

benchmarking derived from it, available in the marketplace in the same manner as Change does

today.” See DX-0168. UHG and Change produced the actual letters sent to Change’s EDI and

data solutions customers on June 9, almost two weeks before the close of fact discovery. See DX-

0168; DX-0169.

          Plaintiffs conducted discovery on these commitments over the course of several weeks and

introduced them in exhibits in the depositions of UHG’s CEO, see 6/16/22 A. Witty Dep. Tr.

350:19-361:14 & Exs. 26-28, Change’s CEO, see 6/13/22 N. de Crescenzo Dep. Tr. 45:21-61:21

& Exs. 2-4, and Steve Yurjevich, OptumInsight’s COO, who was named as UHG’s corporate

representative on the topic of “[a]ll remedies offered by United to address any alleged or actual

competitive effects of the [t]ransaction, such as the [d]ivestiture or [b]ehavioral [r]emedies.” Mr.

Yurjevich was prepared to, and did, answer all of Plaintiffs’ questions about this topic, see 6/21/22



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S. Yurjevich (UHG Rule 30(b)(6)) Dep. Tr. 221:19-228:5 & Ex. 32. Plaintiffs likewise questioned

Change’s Rule 30(b)(6) representative, Michael Trotti, about the commitments, see 6/8/22 M.

Trotti (Change Rule 30(b)(6)) Dep. Tr. 170:25-177:21 & Ex. 19, with Plaintiffs choosing “not [to]

ask[] any questions about any individual customers” on the “675-page” list they had received, id.

at 171:5-177:21.

       The principal focus of this motion is Plaintiffs’ effort to exclude any evidence related to

commitments offered by UHG to Change’s customers, including DX-0214 and DX-0767. DX-

0214 is a compilation of 2,225 documents reflecting customers’ responses to the templates,

including 658 responses that were received by Change after the close of fact discovery. See Pls.’

Mot. in Limine to Strike Exs., & Prohibit Defs. from Introducing Untimely Produced Docs., Any

Related Evid., & Any Summaries Thereof (“Mot.”) (ECF No. 72-1) at 4 & n.1. More specifically,

DX-0214 contains (1) pre-paid postage envelopes that were returned to Change by its customers

and (2) executed contract amendments (which are identical to the templates Defendants produced

to Plaintiffs on May 27). See, e.g., DX-0214. Change received the executed amendments on a

rolling basis, and a critical mass was produced on June 30, just nine days after the close of fact

discovery. DX-0767 is a summary exhibit of the responses Change has received. See DX-0767.

       Certain other materials at issue in Plaintiffs’ motion include:

      publicly-available web pages not called for by Plaintiffs’ document requests, see DX-0171;
       DX-0173 to DX-0191; DX-0193; DX-0196 to DX-0197; DX-0201 to DX-0208; DX-0211;
       DX-0215; DX-0222; DX-0232;

      a 2004 patent for real-time claim processing, DX-0209;

      a draft press release (publicly available in final form) describing a 2020 ethics award
       received by Change, DX-0211;

      contract supplements, see DX-0200; DX-0216 to DX-0217; DX-0219; DX-0221; DX-0225
       to DX-0228; DX-0231;

      a data elements spreadsheet and claims submission statistics, see DX-0172; DX-0192;


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      a series of presentations, including a medical network presentation, a real-time settlement
       competitive landscape presentation, and a presentation from a public conference, see DX-
       0194; DX-0212; DX-0213

      a KLAS software and services report, see DX-0220;

      a divestiture financial model, confidential information memorandum about the divestiture,
       and employee census, see DX-0199; DX-0224; DX-0233;

      data integrity council documents and materials and Change’s artificial intelligence and
       machine-learning compliance policy, see DX-0210; DX-0229; DX-0230; and

      summary exhibits based on previously-produced documents and certain transaction data,
       see DX-0234 to DX-0239.1

       On July 13, Plaintiffs filed their motion to exclude these documents. Plaintiffs’ motion

does not attach the documents or describe them in any meaningful detail. Nor did Plaintiffs meet

and confer with UHG and Change before filing their motions. This opposition follows.

                                     LEGAL STANDARD

       A federal district court has “inherent authority” to entertain motions in limine to address

evidentiary issues in advance of trial. United States ex rel. Morsell v. NortonLifeLock, Inc., 567

F. Supp. 3d 248, 258 (D.D.C. 2021). This extends to motions to exclude evidence on timeliness

grounds, which are addressed by interlocking provisions of Federal Rules of Civil Procedure 26

and 37. See id.; Burns v. Levy, 2019 WL 6465142, at *18 & n.14 (D.D.C. Dec. 2, 2019). Rule

26(e) requires a party to supplement its discovery responses with material, undisclosed information

“in a timely matter.” See Fed. R. Civ. P. 26(e)(1). Rule 37(c)(1) in turn prohibits a party from

using information that it “fail[ed] to provide” as required by Rule 26(e), “unless the failure was

substantially justified or is harmless.” See Fed. R. Civ. P. 37(c)(1). “[P]reclusion of evidence is


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        Plaintiffs appear to have erroneously requested exclusion of DX-0195, Cigna’s public
comments on the U.S. Department of Health & Human Service’s (“HHS”) proposed transparency
rules, which was used as Exhibit 5 in the Rule 30(b)(6) deposition of HHS on June 10, before the
close of fact discovery.



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an extreme sanction,” not to be undertaken lightly. See Morsell, 567 F. Supp. 3d at 271 (citation

omitted); accord Burns, 2019 WL 6465142, at *18.

                                          ARGUMENT

I.     Plaintiffs’ Motion Violates Local Rule 7’s Meet-And-Confer Requirement.

       Plaintiffs’ motion fails at the outset because it violates Local Civil Rule 7(m). Local Civil

Rule 7(m)—which Plaintiffs concede governs here—provides: “[b]efore filing any nondispositive

motion in a civil action, counsel shall discuss the anticipated motion with opposing counsel in a

good-faith effort to determine whether there is any opposition to the relief sought and, if there is,

to narrow the areas of disagreement.” See D.D.C. L. Civ. R. 7(m); Mot. (ECF No. 72-1) at 1

(“Pursuant to Rule 7 of the Rules of the United States District Court for the District of Columbia

. . . [Plaintiffs] respectfully move the Court to strike . . . portion[s] of Defendants’ exhibit list

. . . .”). To ensure compliance with that obligation, Local Civil Rule 7(m) further requires a party

“include in its motion a statement that the required discussion occurred, and a statement as to

whether the motion is opposed.” D.D.C. L. Civ. R. 7(m).

       Plaintiffs did not even try to comply with their meet-and-confer obligations, nor did they

include in their motion a statement that those obligations were satisfied—both independent reasons

to deny Plaintiffs’ requested relief. “Courts in this District have previously denied non-dispositive

motions for failure to comply with Local Civil Rule 7(m),” including motions in limine. See

English v. Washington Metro. Area Transit Auth., 293 F. Supp. 3d 13, 16 (D.D.C. 2017) (collecting

cases); Abbott GmbH & Co. KG v. Yeda Rsch. & Dev. Co., 576 F. Supp. 2d 44, 47-49 (D.D.C.

2008). Plaintiffs have not offered any justification for failing to meet and confer with UHG and

Change, and their motion should be denied.




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II.    Plaintiffs Cannot Show That The Production Of Signed Contractual Commitments
       Were Untimely Or Prejudicial.

       The Court should not exclude DX-0214 and DX-0767. Plaintiffs’ motion ignores that the

documents in question were being created during the discovery period itself and that UHG and

Change have been clear with Plaintiffs for at least five months that they were undertaking a process

to create, distribute, and produce the contractual commitments at issue.

       Even before the complaint was filed in February 2022, Plaintiffs received a written

description of the contractual commitments UHG and Change intended to provide Change’s

customers. See Witty Dep. Ex. 27. Then, with almost a month left in fact discovery, Plaintiffs

received the exact template (and actual copies) of the letters sent, as well as a mailing list for all

EDI and data solutions customers that would receive the letters. See Witty Dep. Ex. 28; DX-0168;

DX-0169. Plaintiffs had the opportunity to (and did) question UHG’s and Change’s witnesses

about these commitments, and in fact, Plaintiffs introduced them as deposition exhibits. See

6/16/22 A. Witty Dep. Tr. 350:19-361:14 & Exs. 26-28; 6/13/22 N. de Crescenzo Dep. Tr. 45:21-

61:21 & Exs. 2-4; 6/21/22 S. Yurjevich (UHG Rule 30(b)(6)) Dep. Tr. 221:219-228:5 & Ex. 32;

6/8/22 M. Trotti (Change Rule 30(b)(6)) Dep. Tr. 170:25-177:21 & Ex. 19.

       A little over three weeks after UHG and Change produced the template letters, Plaintiffs

received the documents at issue in this motion: pre-paid postage envelopes and executed copies of

contractual amendments the templates of which Plaintiffs had received over a month before. There

is no credible argument that Plaintiffs were unaware of the terms of UHG’s and Change’s proposed

commitments or that many customers would accept them. See, e.g., United States v. Philip Morris

USA, Inc., 219 F.R.D. 198, 202 (D.D.C. 2004) (“Defendants were clearly and unquestionably

aware of the existence of these advertisements and publications and their relationship to the

comprehensive factual picture which the Government intends to present at trial.”); Navajo Nation



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v. Urb. Outfitters, Inc., 2016 WL 3475338, at *3 (D.N.M. Feb. 9, 2016) (“Plaintiffs state that these

documents were similar to a group of documents that Defendants produced at the outset of

discovery, which belies Plaintiffs’ contention that they were surprised by the documents.”). The

documents were “being created during the discovery period itself,” and UHG and Change worked

diligently to track, collect, and produce as many executed contractual commitments as possible.

See Docker v. Hall, 2018 WL 11424781 (S.D. Miss. Feb. 8, 2018); Mobile Telecomms. Techs.,

LLC v. United Parcel Serv., Inc., 2015 WL 11199065, at *3 (N.D. Ga. Mar. 25, 2015), R. & R.

adopted, 2015 WL 11199151 (N.D. Ga. Apr. 21, 2015).

       By proceeding in this fashion, UHG and Change acted in good faith and in full compliance

with the Federal Rules and the Case Management Order. UHG and Change obviously could not

have produced such documents before they were created, see Iweala v. Operational Techs. Servs.,

Inc., 2010 WL 11583114, at *1-2 (D.D.C. Apr. 13, 2010); Lurensky v. Wellinghoff, 271 F.R.D.

345, 349 (D.D.C. 2010) (“Defendant cannot produce what it does not have.”), and their discovery

responses were appropriately supplemented as documents were created and a critical mass of

responses from customers was received, see Fed. R. Civ. P. 26 advisory committee’s notes to 1993

amendment (“Supplementations need not be made as each new item of information is learned but

should be made at appropriate intervals during the discovery period, and with special promptness

as the trial date approaches.”). The Case Management Order, moreover, required only that the

parties “make good-faith efforts to substantially complete responsive productions” within 28 days

of a request for production. See Scheduling & Case Management Order (ECF No. 42) ¶ 14(a)(i)

(emphases added). UHG and Change complied with that obligation, producing information about

the commitment process as it became available and executed contractual amendments after a

substantial amount were received and collected.




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       Plaintiffs’ claim that they “were denied the opportunity to explore and test the[se]

documents in depositions,” Mot. at 4, therefore falls flat. Plaintiffs did in fact question UHG’s

Rule 30(b)(6) representative about the commitments, including on whether UHG was “going to

make any changes to the[] commitments” and whether “any additional commitments [were] being

considered.” See 6/21/22 S. Yurjevich (UHG Rule 30(b)(6)) Dep. Tr. 227:20-228:5. UHG

confirmed that because “this document has been sent out to customers, . . . we would not be making

changes” and that no additional commitments were under consideration. See id. Plaintiffs asked

similar questions of Change’s Rule 30(b)(6) representative, explicitly stating they had received “a

675-page PDF listing various customers,” but would “not be asking any questions about any

individual customers.” See 6/8/22 M. Trotti (Change Rule 30(b)(6)) Dep. Tr. 171:5-177:21. It

thus was Plaintiffs that made the strategic choice not to question UHG or Change in detail about

the substance of the commitments, to whom they were sent, or any other matter related to responses

or interactions with individual Change customers.

       The reason is obvious and underscores why the production of DX-0214 resulted in no

prejudice: Plaintiffs are not suggesting that the executed amendments in DX-0214 and reflected in

DX-0767 are materially different from the template they received a month before the close of

discovery (apart from the customers’ signatures), nor are they making the fanciful claim that UHG

and Change failed to send the letters. The only aim of Plaintiffs’ motion, therefore, appears to be

the exclusion of the only marginally “new” information introduced by DX-0214 and reflected in

DX-0767: evidence that the proposed amendments were actually signed. That gambit is not

consistent with the “comprehensive inquiry into future competitive conditions” required by the

Clayton Act, and Plaintiffs’ motion should be denied. See United States v. AT&T Inc., 310 F.

Supp. 3d 161, 165 (D.D.C. 2018); see also United States v. Baker Hughes Inc., 908 F.2d 981, 988




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(D.C. Cir. 1990) (Thomas, J.) (“Predicting future competitive conditions in a given market, as the

statute and precedents require, calls for a comprehensive inquiry.”).

       As recognized in United States v. AT&T Inc., 310 F. Supp. 3d 161 (D.D.C. 2018)—where

the Department of Justice unsuccessfully moved to exclude commitments evidence on other

grounds—contractual offers “have real-world effect” that factor into experts’ analysis of a

transaction and market conditions. See AT&T, 310 F. Supp. 3d at 217 n.30. Commitments like

the ones offered here put a merging party’s “money where [its] mouth is” and ensure there is at

least a risk of significant “reputational costs” for “retreat[ing] from the commitment[s]” made to

market participants. See id. at 241 n.51. Such costs can “imperil future negotiations in a

marketplace with repeat players.” See id. Plaintiffs therefore cannot credibly maintain they were

“prevented” from addressing DX-0214 in their pre-trial brief, which will have been filed 20 days

after the production of these materials, or that they “relied on a theory of the case now altered.”

Mot. at 10 (citations omitted). Plaintiffs have known the substance of the commitments at issue

since before they filed this lawsuit, and still have ample opportunity to explore the significance of

those signed commitments through expert testimony, exactly as happened in AT&T.

       Finally, Plaintiffs have not explained the actual prejudice they have allegedly suffered (i.e.,

the questions they would have asked, the information they did not receive, etc.). Courts will not

impose the extreme sanction of preclusion based upon vague and sweeping assertions of prejudice.

See, e.g., Zrihan v. Wells Fargo Bank, N.A., 2014 WL 348197, at *5 n.4 (D. Ariz. Jan. 31, 2014)

(denying preclusion where “the parties’ briefing fails to provide the [c]ourt with sufficient

information to conduct a Rule 37(c)(1) analysis”); Oak Creek Inv. Props., Inc. v. Am. Elec. Power

Serv. Corp., 2020 WL 5089391, at *3-4 (W.D. Ark. Aug. 28, 2020) (rejecting a “broad[] claim

that ‘any evidence produced after the discovery deadline should be excluded’” without a specific




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articulation of prejudice). That is all Plaintiffs have offered here: there is hardly any “new

information” in DX-0214 or the summary exhibit in DX-0767, and Plaintiffs had the exact text of

commitments themselves nearly a month before the close of discovery, see DX-0168; DX-0169.

See, e.g., Philip Morris, 219 F.R.D. at 202; Navajo Nation, 2016 WL 3475338, at *3. There is no

basis to conclude that the production of DX-0214 or the summary exhibit in DX-0767 was

prejudicial in any way, and Plaintiffs’ motion should be denied.

       None of the remaining facts cited by Plaintiffs warrant the extreme sanction of preclusion

either. See Burns, 2019 WL 6465142, at *18.

       Egregiousness.    Plaintiffs marshal little-to-no evidence establishing any “egregious”

conduct. Plaintiffs’ primary support for their contention that UHG and Change “knew they should

produce documents related to commitments” is an email producing the exact text of the proposed

amendments and a list of customers that would receive them. See Mot. at 8. That does not establish

discovery misconduct—just the opposite, and the template production, along with the production

of the letters themselves before the close of discovery, see DX-0168; DX-0169, gave Plaintiffs

ample opportunity to depose UHG’s and Change’s Rule 30(b)(6) representatives.

       Deterrence. There is no “deterrence” achieved by precluding DX-0214 and, by extension,

the summary contained in DX-0767 because there is no evidence that UHG or Change acted with

the purpose or intent of keeping evidence from Plaintiffs. See Navajo Nation, 2016 WL 3475338,

at *3 (declining to impose Rule 37(c)(1) sanction where “Plaintiffs have failed to make any

showing that Defendants acted in bad faith or willfully”). To the contrary, UHG and Change have

repeatedly informed Plaintiffs about the contractual commitments they intended to offer and made

productions of materials as the process moved forward.




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           Prejudice to the Judicial System. Plaintiffs likewise are incorrect that there is any

prejudice to the judicial system. Nothing about the production of DX-0214 “has interfered with

the Court’s ability to preside over an orderly and efficient discovery process.” Mot. at 10 (citations

omitted). If anything, the exclusion of this evidence would prejudice the Court’s ability to assess

the future state of the market on a full record, which weighs heavily in favor of its admission. See

AT&T, 310 F. Supp. 3d at 217 n.30, 241 n.51.

           Proportionality. Finally, Plaintiffs’ requested sanction is far out of proportion to any

alleged harm Plaintiffs have suffered. As explained above, Plaintiffs have not demonstrated any

prejudice stemming from the introduction of pre-paid postage envelopes and executed contractual

commitments, unsigned copies of which Plaintiffs had received nearly a month earlier. See United

States v. Philip Morris USA Inc., 2022 WL 1101730, at *4 (D.D.C. Apr. 13, 2022) (“The central

Rule 37 requirement is that ‘any sanction must be just,’ and given the Court’s ‘broad discretion’

on the matter, it should be guided by the ‘concept of proportionality’ between the offense and the

sanction.” (citations omitted)).

III.       Plaintiffs Cannot Show That The Production Of Publicly-Available And Other
           Limited Documents Was Untimely Or Prejudicial.

           Plaintiffs contend that sixty-seven other Change documents produced with the exhibit list

should be excluded because they should have been produced earlier in response to a combination

of RFPs listed in their Exhibit 3.2 But the documents at issue either were created only shortly

before they were added to the exhibit list, are not responsive to Plaintiffs’ RFPs, are simply

screenshots of public websites, or are duplicates of previously-produced documents.


       2
      DX-0170 contains privileged information and inadvertently was included on Defendants’
exhibit list. Because Change has since clawed back DX-0170, Plaintiffs have acknowledged that
their request to exclude that document is moot. See Pls.’ Notice that Defs. Have Mooted Part of
Pls.’ Mot. in Limine (ECF No. 76).



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       A.      RFPs for Trial Documents.

       Plaintiffs claim that all of the identified exhibits should have been produced in response to

Plaintiffs’ Second Set of RFPs, which call for documents “that you expect to use in any hearing,

motion, or trial in this [l]awsuit.” Change only identified these documents as potential trial exhibits

several days before they were listed on UHG’s and Change’s exhibit list, and Change could not

have been expected to produce what it had not yet identified. See Decl. of Preston Miller ¶ 4.

       B.      Duplicate Documents (DX-0194; DX-0199; DX-0220; DX-0224; DX-0233)

       A number of exhibits challenged in Plaintiffs’ motion—DX-0194; DX-0220; DX-0223;

DX-0224; and DX-0233—are exact duplicates of previously produced documents: DX-0194 was

produced at CHNG-008317710; DX-0199 at CHNG-011238172; DX-0224 at CHNG-012833508;

DX-0233 at CHNG-013956209; and DX-0220 was produced three times in earlier productions,

with the new exhibit differing only because it is color rather than black and white, see CHNG-

007002214 to CHNG-007002442; CHNG-009549740 to CHNG-009549968; CHNG-001818332

to CHNG-001818560. This cannot be a surprise to Plaintiffs, who already used duplicates of some

of these documents in depositions, including DX-0224—the Confidential Information Presentation

for the ClaimsXten divestiture—which was Exhibit 3 to the June 6, 2022 Carolyn Wukitch

Deposition.

       C.      Recently Created Documents (DX-0213; DX-0223; and DX-0234 to DX-0239)

       The remainder of Change’s June 30 production cannot be untimely because these

documents were created only after discovery closed on June 21 or after Change had completed its

document collections and productions in response to Plaintiffs’ RFPs. See Decl. of Preston Miller

¶ 3.




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               1.      Rule 1006 Summaries.

       Exhibits DX-0192 and DX-0235 to DX-0239 are all summary exhibits under Federal Rule

of Evidence 1006, which permits the use of summaries, charts, or calculations “to prove the content

of voluminous writings, recordings, or photographs that cannot be conveniently examined in

court.” Fed. R. Evid. 1006. DX-0235 to DX-0237 are calculations of volume loss based on

transaction counts from Change’s EDI network; DX-0238 to DX-0239 summarize contractual data

rights provisions for certain Change customers; and DX-0192 is a calculation of EDI transaction

volume lost by submitter as a result of the loss of Centene, a payer customer. In each case, Change

produced to Plaintiffs all documents and data underlying the Rule 1006 summaries, and with the

exception of a few contracts produced with the exhibit list, Plaintiffs have had this data and

information for several months. Plaintiffs therefore cannot claim any prejudice from a lack of

opportunity to “test” these documents: Rule 1006 contains just one requirement—that “[t]he

proponent must make the originals or duplicates available for examination or copying, or both, by

other parties at a reasonable time and place.” Fed. R. Evid. 1006. Because those exhibits are based

on data produced months ago, UHG and Change met this requirement, and in fact used nearly

identical calculations in advocacy to the Plaintiffs much earlier in their investigation. See Feb. 12,

2021 Memorandum from Bates White to DOJ.

               2.      Divestiture Employee Census

       DX-0233 is a snapshot of Change’s employee census for the ClaimsXten business as of

June 29, 2022. Plaintiffs received earlier versions of the census in previous productions and used

those versions in their depositions (e.g., 6/6/22 C. Wukitch Dep. Exs. 13-14). Because the census

is a document that is updated periodically, the more recent the document, the more accurate it is.

In order to have the most accurate information in its exhibit, Change created DX-0233, which




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reflects the most recent version of the employee census. Plaintiffs cannot, and do not, articulate

any prejudice, and DX-0233 should not be excluded.

               3.      June 2022 Industry Presentation

       Exhibit DX-0213 is a presentation by third-party industry participants at the June 2022

Healthcare Financial Management Association conference. The first page of this document

indicates it was presented at a conference held from June 26-29, 2022, a week after the close of

fact discovery and only a few days before it was produced to Plaintiffs. It is self-evident that the

production of this document was not untimely, and Plaintiffs should withdraw their challenge.

               4.      Customer Transitions from Change to Availity

       DX-0234 is a document created on June 29, 2022 at the direction of Cindy Klain, a Change

employee and testifying witness. It was prepared by Change employees under Ms. Klain’s

direction to provide examples of the implementation timelines for customers seeking to transition

to Availity’s EDI clearinghouse. It is intended to be used as a demonstrative at trial.

               5.      Documents Not Responsive to RFPs

       Nor can Plaintiffs exclude DX-0172, DX-0200, DX-0216 to DX-0219, DX-0221, and DX-

0224 to DX-0231, as those exhibits are not responsive to the RFPs Plaintiffs have identified.

       Customer Contracts (DX-0200, DX-0216 to DX-0219, DX-0221, DX-224 to DX-0231).

Plaintiffs contend in their motion that the identified contracts would have been responsive to either

RFP No. 7 or RFP No. 10. These RFPs, however, request only “data.” 3 Plaintiffs’ RFPs also


   3
     RFP No. 7 requests “[d]ata sufficient to show which providers, payers, and submitters have
or had a Direct connection with Change, including the transaction type for which they have the
Direct connection and the time periods of such Direct connections.” RFP No. 10 requests “[a]ll
data relating to Change’s contractual rights to use Claims Data, including the name and all
identifying information for the customer granting data rights (e.g., submitter ID, payer ID, TIN,
NPI, parent-level entity, and affiliates), the time period for which Change has or had data rights,
and the scope and categorizations of any data rights.”



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instructed Change to produce responses to data specifications “in an electronically sortable and

searchable format (e.g., Excel or delimited text files).” See Mot. Ex. 1 at Instr. No. 13. Many of

Plaintiffs’ other RFPs specifically requested only “data,” only “documents,” or “documents and

data.” Moreover, Change had already produced its top 100 contracts in response to the Department

of Justice’s Second Request, which specifically requested “contracts.” There is thus no reasonable

construction of these RFPs that would call for the production of these contracts.

       ClaimsXten Data Fields Description (DX-0172). DX-0172 is a document given to new

ClaimsXten customers that describes the data fields used by Change’s claims editing product.

Plaintiffs argue this document is responsive to RFP No. 22, which requests “[d]ocuments sufficient

to show all current or potential Change products or services that perform or will perform any

Claims Edits, including all current or potential Change products or services that rely or may rely

on the same source code, rules engine, content, or library of health insurer rules or edits as

Change’s Claims Editing products or services, or Claims Edits.” But DX-0172 does not “show”

a product at all; it shows a list of data fields that are used by a product. DX-0172 thus is not

responsive to RFP No. 22.

       Descriptions of Change’s Data Integrity Council. Plaintiffs likewise are wrong that DX-

0229 and DX-0230 are responsive to RFP No. 17, which requests certain information related to

“(a) the Transaction, (b) the Lawsuit, (c) the investigation preceding the Lawsuit, (d) any proposed

Divestiture, or (e) any actual or proposed commitments or agreements, including those referenced

in Paragraph 14 of United’s General Response in its Answer to the Complaint.”                 Change

Healthcare’s Data Integrity Council is a standalone business initiative unrelated to any of the listed

subjects, and documents on this subject therefore are not responsive to this RFP. 4


   4
      In addition, Plaintiffs month ago vetted and approved Change’s Technology Assisted
Review model, which was used to respond to Plaintiffs’ RFPs. That model did not identify these


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       Publicly-Available Documents and Documents Not In Agreed Upon Custodial Files.

Nor are DX-0171, DX-0173 to DX-0191, DX-0195 to DX-0197, DX-0201 to DX-0209, DX-0215,

DX-0222, and DX-0232 responsive to any of Plaintiffs’ RFPs, as they are publicly-available

documents not from the files of any agreed-upon custodian. The documents themselves were

captured from public websites immediately prior to production on June 30, and in fact, many of

the underlying websites were cited over 6 months ago in UHG’s and Change’s submissions to

Plaintiffs during the investigation phase, obviating any risk of prejudice. These include DX-0171,

DX-0175, and DX-0222 (cited in UHG’s and Change’s September 7, 2021 Letter from P. Miller

to B. Bhagat & M. Brazill) and DX-0176 to DX-0191 (cited in UHG’s and Change’s January 3,

2022 document entitled “UHG’s Acquisition of Change Healthcare Will Delivery Important

Benefits to the Healthcare Industry Without Harm to Competition,” provided to the Department of

Justice). The remaining exhibits (DX-0193 and DX-0210 to DX-0212) are from individuals at

Change who are not named custodians; their documents thus were not called for by Plaintiffs’

RFPs. See Mot. Ex. 1 at App. A.

                                        CONCLUSION

       Plaintiffs’ effort to manufacture a dispute to exclude plainly relevant evidence fails on

every score. The Court should deny Plaintiffs’ motion in limine and reject any effort to exclude

DX-0214, DX-0767, or any of the remaining exhibits identified in Plaintiffs’ motion.




documents for production, and thus they would not have been produced under the parties’
agreement even if responsive to other RFPs.



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Dated: July 20, 2022                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 20th day of July 2022, a copy of the foregoing

Defendants’ Opposition to Plaintiffs’ Motion in Limine to Strike Exhibits, and Prohibit Defendants

from Introducing Untimely Produced Documents, Any Related Evidence, and Any Summaries

Thereof was electronically transmitted to the Clerk of Court using the CM/ECF system, which will

transmit notification of such filing to all registered participants.




                                                     /s/ Craig S. Primis
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